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               In the United States District Court for the District of Columbia

United States of America                          )
                                                  )
               v.                                 )           Criminal No. 1:21-CR-214
                                                  )           The Hon. John D. Bates
Joseph Padilla,                                   )
                                                  )
               Defendant.                         )


                         Defendant’s reply to government’s opposition

       The government’s case for detention is - and must be - focused on the allegations of

January 6. Before that date, Mr. Padilla never did anything suggesting he was a danger. Mr.

Padilla has no criminal record: not as a member of the military and not as a father raising a

young family and engaging with treatment for his posttraumatic stress disorder.

       Mr. Padilla has done nothing since January 6 to suggest he is a danger. In the six weeks

from January 6 to his February 23 arrest, there are no allegations that Mr. Padilla committed any

dangerous acts or threatened to do so. 1 After January 6, the FBI came to his house twice without

incident or resistance of any kind. He was arrested without incident.

       Thus, Mr. Padilla’s life before and after January 6, 2021 has forced the government to

argue that his conduct on that day alone requires detention. As this Court determined in Klein, it

is possible to craft suitable release conditions for individuals with no prior or subsequent

dangerous activity – even where they are accused of violent conduct toward police on that day.

U.S v. Federico Klein, 1:21-cr-236, ECF no. 29.




       1
         The government alleges that an online post “I’m done being passive” attributed to Mr.
Padilla constitutes a threat. Government Memorandum, ECF 20 at 4. This allegation is belied by
the absence of any subsequent language or actions by Mr. Padilla that could be interpreted as
threatening or dangerous. It is also belied by a lack of specificity as to whom or what might be
threatened, how they might be threatened, or when they might be threatened.


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I.     A specific review of the facts illustrates that Mr. Padilla is not a danger to the
       community and that his conduct resembles that of Mr. Klein.

       A. Mr. Padilla wore a scuba mask – a safety measure recommended for protests by
          sources from Reader’s Digest to Amnesty International.

       The government asks the Court to interpret Mr. Padilla’s scuba mask as “clear

premeditation of anticipated clashing with police.” ECF no. 20 at 6. As protests have roiled the

country in the last year, masks or goggles have become commonplace. Media from Reader’s

Digest 2 to Amnesty International 3 recommend that individuals bring safety goggles to protests. It

is not credible to imply Mr. Padilla’s scuba mask is evidence of premeditated violence. On the

other hand, where the government is charging that others brought stun guns, baseball bats, and

pepper spray to the Capitol, the government acknowledges that “Padilla did not bring a weapon

with him to the Capitol.” ECF no. 20 at 6.

       B. Mr. Klein and Mr. Padilla are accused of relatively similar conduct.

       Both Mr. Klein and Mr. Padilla are accused of serious conduct. In its opposition to Mr.

Padilla’s motion, the government described Mr. Klein’s conduct as “us[ing] a riot shield to push

against a line of officers.” ECF no. 20 at 6. The government has previously described that

conduct differently:


       …Klein placed himself in the thick of the violence aimed at breaking through the
       center doorway of the Lower West Terrace to gain entrance to the Capitol
       Building. He was among the first wave of rioters to enter the center archway and
       attempt to breach the door; he first entered the archway at approximately 2:43
       p.m. and formed part of the mob inside the tunnel battling officers. Klein was not
       a mere bystander, however, and used physical violence against a line of police
       officers who were protecting the entrance.



2
  See Neesan, Johanna, Ten Things You Should Bring (And Wear) to a Protest, Reader’s Digest
(April 7, 2021), available at: https://www.rd.com/list/what-to-bring-to-a-protest/.
3
  See Amnesty International, Safety during Protest, available at:
https://www.amnestyusa.org/pdfs/SafeyDuringProtest_F.pdf.


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       …He ignored police orders to “back up,” and repeatedly attempted to break
       through the line, including by engaging in hand-to-hand violence against police
       officers while wielding an apparently stolen police riot shield.

       …at approximately 3:00 p.m., Klein was captured ignoring orders to “Back up”
       and “Let it go.” Instead of complying, Klein shoved a riot shield in between the
       Capitol Building doors, preventing officers from closing them.

       …At that point, Klein used the riot shield to assault the front-line officers by
       violently shoving the shield into their bodies. … Open-source videos also
       confirmed that Klein was in the tunnel physically fighting against the front line of
       officers. Notably, one video captured Klein encouraging other rioters to attempt to
       breach the Capitol by shouting, “We need fresh people, we need fresh people”
       multiple times.

       … However, even after being forced out of the tunnel, he lingered on the Lower
       West Terrace with the mass of rioters who remained there. While out on the
       Terrace, Klein was again captured on video hindering an officer seeking to help
       another officer who had been dragged into the mob on the Lower West Terrace.

U.S v. Federico Klein, 1:21-cr-236, Government’s opposition to defendant’s motion for
review and revocation of detention order, ECF no. 25 at 5-7.

       The government’s opposition also focuses on an allegation that Mr. Padilla threw

a pole at officers. This allegation does not require recharacterization by Mr. Padilla:

video of the allegation is publicly available. 4 The Court can evaluate for itself the

allegations against Mr. Padilla relative to those of Mr. Klein and other individuals present

at the Capitol on January 6.

       Mr. Padilla is not asking the Court to determine if his conduct was more or less

dangerous than that of Mr. Klein on January 6. Rather, Mr. Padilla asks that the Court




       4
         See https://www.youtube.com/watch?app=desktop&v=DBIg2s_B0IY. (The allegations
occur at approximately the 2:48 mark in the video; Mr. Padilla is alleged to be the individual at
the bottom of the screen in a blue jacket, just to the right of center. Detention H’rng, government
exhibit 7-8.) Mr. Padilla remains in the video until approximately 3:47, standing in the crowd as
individuals push past him to engage with police.


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determine that the similarities in their conduct – as well as their similarly absent criminal

histories – merit similar release conditions.

        II.      “Mental Health” as risk is an out-of-date and ineffective means of
                 evaluating danger.

        The Eastern District of Tennessee Pretrial Report states “mental health

conditions” as a reason it recommends detention. The government restates this as a

reason for detention in its opposition. ECF no. 20 at 13. Neither articulates a reason why

Mr. Padilla’s mental health history presents a danger. Neither articulates a reason because

no reason exists.

        There are two mentions of mental health issues in Mr. Padilla’s pretrial report.

The first is that he is on disability for posttraumatic stress disorder after his military

service. The report also indicates that he is actively engaged in treatment with a V.A.

provider. The report does not report a single issue of threats, violence, or instability as a

result of Mr. Padilla’s condition. In 2021, it is simply insufficient to argue that a mental

health diagnosis equals a risk of danger. While a specific mental health history might

indicate a risk of danger or flight, it might also be evidence of engagement with services

and ties to the community, as well as proactive efforts at self-improvement. For example,

someone who is actively engaged in regular treatment with no arrest record would be

assessed differently than someone who has abandoned treatment or is self-medicating.

Listing Mr. Padilla’s mental health history as evidence of potential danger fails to

identify any reasoning and instead trades on outdated stereotypes about mental health.

        The second mention of mental health in the report is suicidal thoughts. At the

detention hearing, counsel clarified that Mr. Padilla did not report his own suicidal

thoughts – only that the suicide of someone with whom he had served in the military



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catalyzed a difficult time he had in 2018. It is worth noting that there are no reports of

any threats, danger, or arrests during this period.

       This Court has certainly seen errors or miscommunications in pretrial service

reports before. However, even if the Court credits the report and the government’s

argument that suicide might be regarded as flight, custody is hardly the answer. In a

period from 2011-2013, 165 people attempted suicide in the Washington D.C. jail; from

November, 2012 to November, 2013, four people did commit suicide in the D.C. Jail. 5

Between 2014-2018, more than 40 inmates committed suicide in custody in the D.C. area

– and more than 400 attempted suicide. 6 There have been documented suicides at the

D.C. jail in recent years. 7 If the government considered Mr. Padilla a suicide risk, they

might have requested he receive mental health services or be placed on suicide watch.

They did not. Raising Mr. Padilla as a suicide risk is simply a pretense for requesting

detention.




       5
          Hughes, Sarah Anne, 165 People Have Attempted Suicide In D.C. Jail Since 2011, dcist
(Nov. 8, 2013) available at: https://dcist.com/story/13/11/08/dc-jail-hearing/.
        6
          Scott MacFarlane and Rick Yarborough, More than 40 D.C.-Area Inmates Died from
Suicide in Custody Since 2014¸NBC Washington (Updated July 28, 2018), available at:
https://www.nbcwashington.com/news/local/more-than-40-suicides-in-dc-area-jails-since-
2014/176669/.
        7
          See, e.g.,Hermann, Peter, Authorities suspect suicide after inmate found unresponsive in
D.C. jail cell dies, The Washington Post (Jan. 1, 2017), available at:
https://www.washingtonpost.com/local/public-safety/authorities-suspect-suicide-after-inmate-
found-unresponsive-in-dc-jail-cell-dies/2017/01/01/e76d1fc4-d01d-11e6-9cb0-
54ab630851e8_story.html; D.C. Department of Corrections, Report of Suicide at the D.C.
Central Cell Block (Feb. 7, 2015), available at: https://doc.dc.gov/release/report-suicide-doc-
central-cell-block.


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                                            Conclusion

       This is not a case where detention is required under the provisions of the Bail Reform

Act. Pretrial release conditions are sufficient to safeguard the community and ensure that Mr.

Padilla appears in Court.

       WHEREFORE, Mr. Padilla respectfully requests that this Court revoke the order of

detention previously imposed.


                                                      Respectfully submitted,


                                                         __/s/_______________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2021, I will electronically file the foregoing pleading

with the Clerk of the Court and will provide a copy of that filing to counsel of record.



                                                      _ ___          __/s/_______________
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